IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

CONSTANCE COLLINS
AND
PEOPLE FOR
ETHICAL TREATMENT OF ANIMALS, INC.
(Plaintiffs)
Vv.

TRI-STATE ZOOLOGICAL PARK OF WESTERN
MARYLAND, INC.

ANIMAL PARK, CARE & RESCUE, INC.
AND
ROBERT L. CANDY

(Defendants)

 

CONFIDENTIAL

EXPERT REPORT OF

‘mm! em Sem! Sesame! Sees ee! eee! See! ee! See! eee! ee! ees! eee! eee! ees ete!

Case No.: 20-cv-01225

LAWRENCE M. PULLEN, CPA/ABV/CFF, CVA, ASA

SEPTEMBER 7, 2021
EXPERT REPORT OF
LAWRENCE M. PULLEN, CPA/ABV/CFF, CVA, ASA

SEPTEMBER 7, 2021

Table of Contents

 

Page

INTRODUCTION. esccssccsesscsesssessssessssessseessusesssessssesessesssesssisssesessessesetssnessisssetsssessesnsanees 1
QUALIFICATIONS oc ssccsssscsssseesssesssessssssessesssessuecsssusssssssesesssusssisssutesstesssetsenessisssetesvases 2
DOCUMENTS REVIEWED. ooesccsssssssssessssesssesssessssssessessssesssiesssessssessesetssnessivssseeessesssseesanees 2
ANALYSIS .occcccssssesssscsssseesssesseesssesssssessseessuiesseesssssssssesssesssevsssusessuseesesssnessiesssesesseesesnssnees 3
CONCLUSION ..cceescccsssessssesssseessveesssesssssssssesssnessuesssussssssessesssnsssesssusessueessissenessinsssetesseses 5
APPENDIX A

PROFESSIONAL EXPERIENCE ....ccssccsssccssssessssessssessseessessssessssesssseessuessuesssntesseesssnesenees 6
APPENDIX B

TESTIMONY AT TRIAL AND/OR DEPOSITION ....cccssscsssessssessstessssesssesssseessseessnesseessses 8
APPENDIX C

ANALYSIS 9

 
EXPERT REPORT OF
LAWRENCE M. PULLEN, CPA/ABV/CFF, CVA, ASA
ELLIN & TUCKER
SEPTEMBER 7, 2021

CONSTANCE COLLINS
AND
PEOPLE FOR THE ETHICAL TREATMENT OF ANIMALS, INC.
(Plaintiffs)

Vv.

TRI-STATE ZOOLOGICAL PARK OF WESTERN MARYLAND, INC.,
ANIMAL PARK, CARE & RESCUE, INC.

AND
ROBERT L. CANDY
(Defendants)

INTRODUCTION
1. | have been engaged by Zuckerman Spaeder as legal counsel for Constance Collins

and People for the Ethical Treatment of Animals, Inc. in the above-referenced

matter.
2. Specifically, | have been engaged to provide analyses and opinions, and expert

testimony, if necessary, on the value of the injunctive relief to the Defendants
(collectively, Tri-State Zoological Park of Western Maryland, Inc., Animal Park,
Care & Rescue, Inc. and Robert L. Candy), specifically Mr. Candy. In addition, | may
be asked to analyze the Defendants’ analysis and provide expert testimony where
requested.

3. |, with the assistance of my staff, have analyzed and evaluated the documents
received and other information available to us as of September 7, 2021, which, in
my judgment is sufficient, in both form and content, te reach the conclusions,
opinions and estimates stated herein. Those documents are listed below in section
IM.

4, | reserve the right to amend, alter and/or supplement my analyses and opinions
in this report based on any new or additional information received, discovered or
derived during the course of this matter, including additional evidence submitted
by any party either prior to or during the trial.

In the course of my work, | was assisted by staff members of Ellin & Tucker wha
worked under my close supervision and, therefore, | may use the plural “we”,
rather than “Il”, when describing the work performed.

Appendix A is a summary of my professional qualifications. Appendix B is a
summary of my prior trial and deposition testimony. My fees, and the fees for my
staff, have been billed and will continue to be billed at our standard hourly rates
plus out-of-pocket costs. Our billing rates range from $165 per hour for staff
consultants to $425 per hour for directors. My billing rate is $425 per hour for this
matter. Our compensation is not dependent on the results of this report, my
testimony, or the outcome of this matter.

If trial testimony is provided in this matter, | may use exhibits based an documents
produced and/or testimony given in this litigation which refer or relate to the
matters set forth in this report. Specific exhibits that may be used have not been
determined. In addition, certain demonstrative exhibits may be created to assist
me in providing testimony in this matter.

Il. QUALIFICATIONS

8.

lam a Principal of Ellin & Tucker, where | have worked for over 15 years. Ellin &
Tucker provides auditing, accounting, tax, business consulting, business valuation
and forensic accounting services. | am responsible for Ellin & Tucker’s Forensic
and Valuation Services practice group and have provided professional services in
commercial damage, bankruptcy and valuation matters in the United States. In
addition, | work with law firms as a consultant and as an expert witness on
different types of cases, including cases involving commercial business damages,
business valuations and civil fraud.

As noted above, Appendix A is a summary of my professional qualifications.
Appendix B is a summary of my recent trial and deposition testimony, including
the last four years.

HII. DOCUMENTS REVIEWED

 

10.

During the course of this engagement, we have reviewed the following
documents:

. Complaint for Declaratory and Injunctive Relief filed May 14, 2020.
IV.

. Schedule C (Form 1040) Profit or Loss Fram Business for 2015,
2016, 2017, 2018 and 2019 for Robert L. Candy, BDIDTCandy, LLC
(Bates 0251 — 0260).

. Plaintiffs’ Opposition to Defendants’ Motion for Recusal and for
Bifurcated Summary Judgment Briefing filed June 4, 2021.

. Exhibit 0034 — 30(b)}(6) — pdf file of BDJDT LLC & Tri-State Zoo, Inc.
2019 expenses.

. Exhibit 0035 — 30(b)(6) — pdf file of Revenue and Expense Summary
for Year 2018.

. Exhibit GO36 — 30(b)(6) - excel file of Tri-State Zoological Park, Inc.
& BDJDT Candy, LLC Expenses for 2019.

. Exhibit 0037 — 30(b)(6) — pdf file of Revenue and Expense Summary
for Year 2019.

. Exhibit0038 -— 30(b)(6} -— excel file of Revenue and Expense
Summary for Year 2019.

. Exhibit 0039 — 30(b}(6) — Schedule C (Form 1040) Profit or Loss
From Business for 2019 for Robert L. Candy, BDJDTCandy, LLC.

. Exhibit 0040 — 30(b)(6) — Account statement from BB&T for Animal
Park Care & Rescue Inc. for February 28, 2018.

. Transcript of Virtual Zoom Deposition of Robert Candy dated
Thursday, June 24, 2021.

. Transcript of the Deposition of Robert L. Candy dated Wednesday,
May 2, 2018.

. Letter dated May 20, 2021 from Adam B Abelson of Zuckerman

Spaeder LLP to Nevin L. Young re: Collins v. Tri-State Zoological Park
of Western Maryland, Inc., Case No. 20-cv-1225 setting forth
Defendants’ historical settlement demands.

ANALYSIS

11.

12.

| have been requested by counsel (Zuckerman Spaeder) for Constance Collins and
People for the Ethical Treatment of Animals, Inc. (the Plaintiffs) to determine the
value of the injunctive relief to the Defendants (collectively, Tri-State Zoological
Park of Western Maryland, Inc., Animal Park, Care & Rescue, Inc. and Robert L.
Candy).

Tri-State Zoological Park of Western Maryland, Inc. (Tri-State or Zoo) is a roadside
zoo that is located in Cumberland, Maryland and is owned by Mr. Candy. Animal
Park, Care & Rescue, Inc. (APCR) is a not-for-profit, a 501(c)(3) organization, that
raises funds and makes contributions. APCR raises funds to offset the cost of
expenses at the zoo and separately reports its financial information annually as
required by the Internal Revenue Service. Another entity, BDJDTCandy, LLC is a
business owned by Mr. Candy and lists its services as recreation, zoo, rescue and
13.

14.

15.

16.

17.

management. It is my understanding that this entity reports, for tax purposes, the
combined income and expenses of BDJDTCandy, LLC as well as the Zoo.

The term “value” according to Merriam- Webster is as follows:

* The monetary worth of something: market price

© A fair return or equivalent in goods, services or money for
something exchanged

« Relative worth, utility, or importance

The value of the APCR would be difficult to assess as APCR is a not-for-profit
organization reliant on contributions to operate and the related contributions it
distributes as part of its mission and cause. Further, according to Mr. Candy, APCR
has a zero cash balance at the end of each year and doesn’t lose money or make
money.t

As mentioned above, the income and expenses of the Zoo and BDJDTCandy, LLC
are reported collectively, on an annual basis, for income tax purposes.” Asa result,
and for purposes of this report, we will combine these entities in determining
value. The value of the Zoo and BDJDTCandy, LLC would be difficult to determine
using traditional valuation methods and approaches as the Zoo and BDJDTCandy,
LLC operate at a loss each year and the value of the zoo animals is indeterminate.

Though the Zoo and BDJDTCandy, LLC operate at a loss each year, Mr. Candy
nonetheless continues to operate both of them, funding their operations fram his
own pocket.® In this regard, Mr. Candy testified at his deposition that although
the Zoo and BDJDTCandy, LLC have not been profitable’, he derives value for his
work with the animals at Tri-State’.

To determine the value of the Zoo and BDJDTCandy, LLC to Mr. Candy, | analyzed
the Schedule C Profit and Loss fram Business forms far 2015 through 2019
(Schedule 1). This schedule reparts the combined income and expenses of the
Zoo and BDJDTCandy, LLC. The total combined loss from 2015 through 2019 was
in excess of $178,000. This loss constitutes the funds paid for by Mr. Candy
personally in order to fund the operations of the Zoo. This does not include the
results for 2020 or year to date 2021 as this information has not been provided.

 

1 Transcript of Virtual Zoom Deposition of Robert Candy on June 24, 2021, Pages 300:11 — 301:12 and

312:8 — 314-21.

2 Transcript of Virtual Zoom Deposition of Robert Candy on June 24, 2021, Pages 312:13 — 313:20.
3 Transcript of Virtual Zoom Deposition of Robert Candy on June 24, 2021, Pages 9775 — 98:7.
4 Transcript of Virtual Zoom Deposition of Robert Candy on June 24, 2021, Pages 96:13 — 98:7 and 312.18

— 31412.

§ Transcript of Virtual Zoom Deposition of Robert Candy on June 24, 2021, Pages 314.12 — 317:19 and
Transcript of the Deposition of Robert L. Candy on May 2, 2018, Pages 284-7 — 285.7.
18. Despite the Zoo and BDJDTCandy, LLC operating at a loss year over year, the
amount that Mr. Candy willingly pays to maintain the roadside zoo as a going
concern, despite these losses, represents the value or worth of the zoo to him. In
my opinion, the value of the Zoo and BDJDTCandy, LLC to Mr. Candy is in excess
of $75,000.

Vv. CONCLUSION

19. Based on my analysis and based on a reasonable degree of accounting certainty
for an expert in my field, it is my opinion, that the total value of the Zoo to Mr.
Candy is well in excess of $75,000 as of September 7, 2021. This is based on the
fact the Mr. Candy was willing to spend in excess of $178,000 of his own money
to fund the total combined operating lasses of the Zoo and BDJDTCandy, LLC fram
2015 through 2019,

20, As further support that the combined value of the Zoo and BDJDTCandy, LLC to
Mr. Candy exceeds $75,000, | have considered negotiation correspondence in a
previous case involving the Zoo and Mr. Candy.® This letter includes several
demands by Mr. Candy in which he requested amounts far more than $75,000. In
fact, Mr. Candy’s demands included amounts ranging from
in return for relinquishing ownership rights to the animals. These amounts are
further indications of the value, or worth, of the Zoo and BDJDTCandy, LLC to Mr.
Candy.

21. We reserve the right to amend, alter and/or supplement my analyses, opinions
and estimates in this report based on any new or additional information received,
discovered or derived during the course of this matter, including additional
evidence submitted by either party prior to or during a hearing or trial.

i filt-

Lawrence M. Pullen, CPA/ABV/CFF, CVA, ASA
Report Preparer

 

§ Letter dated May 20, 2071 from Adam B Abelson of Zuckerman Spaeder LLP to Nevin L. Young re: Collins
v. Tri-State Zoological Park of Western Maryland, Inc., Case No. 20-cy-1225.
APPENDIX A
 

CONTACT INFORMATION

Ipullen @ellinandtucker.com

Baltimore

400 East Pratt Street
Suite 200

Baltimore, MD 21202
410.727.5735

Washington, D.C.

1455 Pennsylvania Avenue, N.W.
Suite 400

Washington, D.C. 20004
202.638.0902

PROFESSIONAL

DESIGNATIONS

Certified Public Accountant (CPA)
Accredited in Business ¥Valuation (ABV)
Certified Valuation Analyst (CVA)
Certified in Financial Forensics (CFF)
Accredited Senior Appraiser (ASA)

EDUCATION

University of Maryland
Bachefor of Sciences, Accounting

LAWRENCE M. PULLEN
CPA/ABV/CFF, CVA, ASA

INDUSTRY EXPERTISE

As a Principal in Ellin & Tucker’s Forensic and Valuation Services
Group with more than 25 years of experience in public
accounting, Larry is well versed and dedicated to providing
services in all types of business valuation, commercial damages,
financial reporting and forensic accounting matters. Prior to
joining Ellin & Tucker, he worked as an auditor for a regional
public accounting firm prior to being a senior analyst for a
business valuation firm.

VALUATION EXPERTISE

Larry has valued numerous ownership interests in family
limited partnerships and limited liability companies owning real
estate or various other investments. He has also valued a
variety of voting and non-voting stock ownership interests in
privately owned corporations operating in a multitude of
industries. These valuations were completed for many
different purposes, including the purchase or sale of a business
interest, bankruptcy buy-sell agreements, estate and gift tax
planning/reporting, corporate restructuring, divorce litigation,
shareholder disputes, and other matters.

FINANCIAL REPORTING

Larry has provided fair value advisory services for financial
reporting purposes. These engagements included purchase
price allocation and goodwill impairment engagements.
Through these engagements, Larry works closely with the
client’s auditors to make sure his fair value analysis meets the
rigorous auditing and valuation standards.

LITIGATION EXPERTISE

Larry has provided litigation services related to commercial
damages, valuation issues as well as the tracing of marital
assets for purposes of equitable distribution of mixed or
transmuted property in damestic matters. He has qualified as
an expert witness in litigation cases involving valuation,
bankruptcy, and damages matters. In addition, he routinely
provides attorneys with case assistance to facilitate the
discovery process, develop case strategy, review and critique
expert’s opinions, and analyze an expert’s positions.

PROFESSIONAL AND CIVIC AFFILIATIONS

Member, American Institute of Certified Public Accountants
(AICPA)

Member, AICPA’s Business Valuation and Forensic and
Litigation Services Section

Member, Maryland Association of Certified Public
Accountants (MACPA}

Member, National Association of Certified Valuators and
Analysts (NACVA)

Member, NACVA’s Maryland/DC Chapter

Member, Baltimore Estate Planning Council

Member, American Society of Appraisers (ASA)
APPENDIX B
LAWRENCE M. PULLEN, CPA/ABV/CFF, CVA

TESTIMONY AT TRIAL AND/OR DEPOSITION - PRECEDING 4 YEARS

(underline denotes party represented)

EDWARD H. KERMAN V. MIDCITY FINANCIAL CORPORATION, ET AL.
Circuit Court for Montgomery County, Maryland

Case No.. 468573-V

January 7070 (Testimony)

DONALD B. CAMP, ET AL. V. AEGIS PROJECT CONTROLS CORP. ET AL.
Circuit Court for Montgomery County, Maryland

Case No.. 469384V

August 2019 (Testimony)

NANCY CARROLL V. WILLIAM CARROLL
Circuit Court for Anne Arundel County, Maryland
Case No.. C-02-FM-1 7-004296

March 2019 (Trial)

STEVENS CREEK QUARRY, INC. V. MONTERO, DEBORAH, ET AL.
JAMS Mediation Reference No.: 111002231 1
June 2018 (Mediation)

Revised 1/20
APPENDIX C
Tz0z ‘ST isnsny

DP pot am ie ise

 

‘(Ajaaipadsal ‘667 Saleg ‘9¢z saleg ‘psz saleg ‘Egz Saleg ‘T¢z Sa]eg) pazesipul sueaA

ay} JO Ydea 10} (OPOT WH04) 9 ajnpayds jo TE aur] ul Jeadde sasso] “(g9z0-TSz0 seleg) ITI ‘Apuedl aiag ‘Apued
| Haqoy 10) 6L0¢ - STO 404 Ssaulsng WOs4 $$07 JO Wold (OPOT W404) 3 ajnpayrs sad ase ssoy) f awWOsUI [eyo] [e]
‘So]ON

 

(ZE"96E'BZT)  $ anjeA [elOL
(€v pSS‘6e) 6102
(oe Eps) 8102
(96 /85‘re) £102
(18° 160‘92) 9102
(7ee0¢‘v2) Sto

[e] (sso7)

f/ awosu [B10]

 

T ajnpayss 19} Je 39 ‘B}PEYS-UL “A [e 49 SUI]]OD BIUeYSUOD
